Case 2:04-cv-02927-SHI\/|-dkv Document 17 Filed 09/01/05 Page 1 of 2 Page|D 28

IN THE UNI'I`ED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISION
MlCH_AEL J. MARKIE and
ELLEN RUBY-MARKIE,
Plaintiffs,
v. Civil Action No. 04-2927-Ma V
JURY DEMANDED

DONALD R. CHASTAIN,

Defendant.

 

ORDER MODIFYING SCHEDULING ORDER

 

Upon plaintiffsl application for modification of the Joint Scheduling Order entered January
27, 2005, upon defendant's consent thereto, it appearing that the proposed modification will not
impact the March 20, 2006 trial setting, and good cause having been shown,

IT IS HEREBY ORDERED that the Scheduling Order entered January 27, 2005 is modified

as follows:
Deadline for Disclosure of Plaintiffs' Expert lnformation: October 14, 2005
Deadline for Disclosure of Defendant'S Expert lnfonnation: Novernber 18, 2005

Deadline to complete all discovery including
experts' depositions: December 3l, 2005

Dispositive Motion Deadline: January 20, 2006

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DIANE K. VESCOVO
United States Magistrate lodge

Date: a/MHM 3// ¢='?J§c$"

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This notice confirms a copy of` the document docketed as number 17 in
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ESSEE

 

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Honorable Sarnuel Mays
US DISTRICT COURT

